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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

JORGE GOLDEN and ANTHONY
YBARRA, individually and on
behalf of all others similarly situated,

        Plaintiffs,

v.                                                        Civ. No. 22-579 GJF/GBW

QUALITY LIFE SERVICES, LLC, et al.,

         Defendants.

                       AMENDED PRETRIAL SCHEDULING ORDER

         THIS MATTER comes before the Court on the parties’ Proposed Amended

Pretrial Order which was submitted via electronic communication pursuant to the

Honorable Gregory Fouratt’s Order granting Plaintiffs’ Renewed Opposed Motion to

Certify Class. Doc. 148. The Court will enter the following pretrial deadlines in this

case:

         Rule 23 Class Notice

         The Rule 23 Class Notice shall be sent out no later than December 18, 2023. The

opt-out period will close on February 16, 2024.

         Plaintiffs shall provide Defendants with an official list of opt-out individuals no

later than February 22, 2024.
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      Discovery

      Discovery in this case concluded on October 6, 2023. Discovery shall not be

reopened except to resolve several outstanding discovery matters according to the

following provisions:

      (1) Plaintiffs will be permitted to depose Frances Angel as described in the Order
          Denying Defendants’ Amended Motion for Reconsideration (doc. 142).

      (2) Defendants shall produce the remaining material responsive to Request for
          Production Nos. 3 and 6 for all members of the Fed. R. Civ. P. 23 class within
          sixty (60) days of the date on which Plaintiffs provide Defendants with the
          official list of opt-out individuals.

      (3) Plaintiffs may file a discovery motion related to the 30 written deposition
          questions that Plaintiff propounded to each of the two primary Defendants
          pursuant to the Court’s order at the October 25, 2023, status conference. Doc.
          141 at 3. This motion shall be filed within fourteen (14) days of the entry of
          this Order.

      (4) Defendants may file a motion for leave to seek limited discovery on Rule 23
          class members.

     IT IS SO ORDERED.




                                 _____________________________________
                                 GREGORY B. WORMUTH
                                 CHIEF UNITED STATES MAGISTRATE JUDGE
